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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION


UNITED STATES OF AMERICA                      )
                                              )
       v                                      )   CR. NO. 3:11cr08-WKW
                                              )           (WO)
COURTNEY DIJARIS WILSON                       )


               RECOMMENDATION OF THE MAGISTRATE JUDGE

       On January 13, 2011, the defendant was charged in a single count indictment with

unlawful possession of a firearm by a convicted felon in violation of 18 U.S.C. § 922(g)(1).

(Doc. # 1). On April 28, 2011, the defendant was charged in a superseding indictment with

three counts of unlawful possession of a firearm by a convicted felon in violation of 18

U.S.C. § 922(g) and one count of possession of cocaine hydrochloride in violation of 21

U.S.C. § 844. (Doc. # 35). On August 31, 2011, a second superseding indictment was filed,

charging the defendant and four others with conspiracy to possess firearms in furtherance of

violent felonies in violation of 18 U.S.C. § 924(c)(1)(A)(iii) and 924(c)(1)(C)(i). (Doc. #

65). Wilson was also charged with car jacking, brandishing and discharging a firearm during

a car jacking, attempted car jacking, brandishing a firearm during an attempted car jacking,

robbery and brandishing a firearm during a robbery. (Id.) Finally, as charged in the original

indictment, the defendant was charged with unlawful possession of a firearm by a convicted

felon. (Id.)
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       Now pending before the court is defendant Wilson’s motion to sever count 8, the

unlawful possession of a firearm by a convicted felon charge, from the other seven counts.

(Doc. # 105). Pursuant to FED.R.CRIM.P. 8 and 14, Wilson contends that

       if Count 8 is joined with Counts 1-7 it will be extremely prejudicial because
       the jury will hear evidence of the defendant allegedly having a firearm and
       being involved in criminal activity in 2011, almost two years after Counts 1-7
       allegedly took place. The jury will also hear about the Defendant’s criminal
       history, the fact that he has a felony conviction, and this could cloud their
       judgment or could confuse the jury when they are making their deliberations
       as to Counts 1-7. A limiting instruction would not be sufficient to ensure that
       the prejudicial effects would not be felt by the Defendant.

(Doc. # 105 at 2-3, ¶ 8).

       After careful consideration of the motion and briefs of the parties, the court concludes

that the motion to sever is due to be denied.

                                       DISCUSSION

       Wilson alleges that by joining count 8, unlawful possession of a firearm by a

convicted felon, with the other counts charging conspiracy, car jacking and brandishing a

firearm, he would be unduly prejudiced by the jury learning that he was a convicted felon.

He further asserts that actions that form the basis for count 8 occurred in Lee County,

Alabama while the actions that form the basis of counts 1 through 7 occurred in Montgomery

and Autauga counties. Finally, he contends that he would be prejudiced because the actions

that form the basis of counts 1 through 7 allegedly occurred in 2009 but count 8 alleges he

possessed a firearm in 2011, almost two years later.

       A Rule 8(a) claim questions the propriety of joining two or more offenses in a single

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indictment in the first instance. After considering the defendant’s Rule 8 claim, the court

will turn to his Rule 14(a) claim challenging the joinder of the offenses at a single trial as

unduly prejudicial.

       FED.R.CRIM.P. 8 permits an indictment to “charge a defendant in separate counts with

2 or more offenses if the offenses charged . . . are of the same or similar character, or are

based on the same act or transaction, or are connected with or constitute parts of a common

scheme or plan.” FED.R.CRIM.P. 8 is “construed broadly in favor of initial joinder, allowing

joinder of offenses that “are of the same or similar character,” even if such offenses do not

arise at the same time or out of the same series of acts or transactions.” United States v.

Hersh, 297 F.3d 1233, 1241 (11th Cir. 2002). Wilson is charged with conspiracy to possess

firearms to commit violent felonies. He is charged with committing and attempting to

commit car jacking and robbery, and he is charged with brandishing a firearm during the

commission of those violent felonies. Finally, he is charged with being a convicted felon in

possession of a firearm. All of Wilson’s charges involve the use of firearms, including being

a convicted felon in possession of a firearm. The offenses are factually similar, involving

a conspiracy to use firearms to commit violent felonies. Rule 8(a) requires that the offenses

be of ‘similar character’ in category or type, not in evidentiary matters. Id. Severance is not

required because the offenses alleged in counts 1 through 7 occurred at a different time than

alleged in count 8. See United States v. Walser, 3 F.3d 380, 385 (11th Cir. 1993) (“While the

offenses charged . . . are distinct in time . . ., they are nonetheless similar.”). The court


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concludes that the offenses are properly joined pursuant to FED.R.CRIM.P. 8(a). See United

States v. Riblet, 91 Fed. Appx. 128 (10th Cir. 2004).

       The court now turns to whether Wilson is entitled to a severance pursuant to

FED.R.CRIM.P. 14 because joinder of the counts results in compelling prejudice to him. The

general rule in this Circuit is that defendants who are jointly indicted should be tried together.

United States v. Lopez, 649 F.3d 1222, 1233-34 (11th Cir. 2011). This rule “is even more

pronounced in conspiracy cases where the refrain is that ‘defendants charged with a common

conspiracy should be tried together.’” Id. at 1234. However, FED.R.CRIM.P. 14 provides in

relevant part as follows:

       If it appears that a defendant or the government is prejudiced by a joinder of
       offenses or of defendants in an indictment or information or by such joinder
       for trial together, the court may order an election or separate trials of counts,
       grant a severance of defendants or provide whatever other relief justice
       requires.

       A severance becomes necessary if, without a severance, a defendant would be unable

to receive a fair trial and he would suffer “compelling prejudice.” Lopez, 649 F.3d at 1234;

United States v. Freyre-Lazaro, 3 F.3d 1496, 1501 (11th Cir. 1993). See also United States

v. Morales, 868 F.2d 1562, 1571 (11th Cir. 1989). The defendant’s burden is a heavy one.

Lopez, 649 F.3d at 1234. “The bar for showing that kind of prejudice is so high that only

in the rarest case can a defendant clear it...” Id. at 1235. To determine compelling prejudice

“the defendant must establish that a joint trial would actually prejudice the defendant and

that a severance is the only proper remedy for that prejudice – jury instructions or some other


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remedy short of severance will not work.” Id., at 1234 (emphasis added). See also United

States v. Hill, 643 F.3d 807, 828 (11th Cir. 2011) (Compelling prejudice may be demonstrated

by a showing that the jury would be “unable to sift through the evidence and make an

individualized determination” as to each offense.)

       ‘[A] district court should grant a severance under Rule 14 only if there is a serious risk

that a joint trial would compromise a specific trial right of one of the defendants, or prevent

a jury from making a reliable judgment about guilt or innocence.” Zafiro v. United States,

506 U.S. 534, 539 (1993). Wilson has offered the court no factual support from which the

court could determine if there exists prejudice sufficient to warrant separate trials on counts

1 through 7 and count 8. The defendant has not identified “any specific prejudice,” but

merely recited bare, conclusory statements without factual support from which the court may

determine if there exists prejudice sufficient to warrant separate trials. See United States v.

Schlei, 122 F.3d 944, 984 (11th Cir. 1997) (defendant has burden of demonstrating “specific

and compelling prejudice” to warrant a severance); United States v. Adams, 1 F.3d 1566,

1578 (11th Cir. 1993) (conclusory allegations cannot carry the defendant’s burden of

demonstrating compelling prejudice). The defendant must present “specific and exonerative

facts” to justify a severance which he has not done. See United States v. Novaton, 271 F.3d

968, 990 (11th Cir. 2001).

       The law in this circuit is clear that joinder of felon in possession of a firearm count

with other counts is insufficient to demonstrate compelling prejudice. See Lopez, 649 F.3d


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at 1242; United States v. Hinds, ___ Fed. Appx ___, 2011 WL 2938048 (11th Cir., July 22,

2011) (No. 10-10524); United States v. Mickens, 408 Fed. Appx. 253, 255 (11th Cir., Jan. 7,

2011) reh’g and reh’g en banc denied, 429 Fed. Appx. 963 (11th Cir., Mar. 23, 2011) (Table,

No. 10-10347-FF) and certiorari denied, — S.Ct. —, 2011 WL 4532581 (Oct. 3, 2011) (No.

10-11186).

        Finally, the defendant has shown no reason why a properly instructed jury cannot

consider the evidence as it relates to each offense.

        In deciding whether to grant the motion to sever, the court must also “balance the

prejudice that a defendant may suffer . . . against the public’s interest in judicial economy

and efficiency.”1 Hill, 643 F.3d at 828. The defendant has presented no facts from which

the court could determine if prejudice exists sufficient to warrant separate trials. The mere

possibility of prejudice is not enough, nor is the “the fact that a defendant’s chances of

acquittal are materially better in separate trials” sufficient. Hill, 643 F.3d at 834. A

defendant does not incur compelling prejudice merely because there is a disparity in evidence

between the charged offenses. Hill, 643 F.3d at 829 quoting Schlei, 122 F.3d at 984.

        Consequently, the court concludes that defendant Wilson has failed to meet his burden

demonstrating that he is entitled to severance on count 8 of the second superseding

indictment.




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         The court must also consider the timeliness of the motion to sever. See United States v. Cobb, 185
F.3d 1193, 1197 (11th Cir. 1999). There is no dispute that the motion to sever is timely.

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                                       CONCLUSION

          Accordingly, for the reasons as stated, it is the RECOMMENDATION of the

Magistrate Judge that the motion to sever filed by defendant Wilson be DENIED. It is

further

          ORDERED that the parties shall file any objections to the this Recommendation on

or before November 1, 2011. A party must specifically identify the findings in the

Recommendation to which objection is made; frivolous, conclusive or general objections will

not be considered. Failure to file written objections to the Magistrate Judge’s proposed

findings and recommendations shall bar a party from a de novo determination by the District

Court of issues covered in the Recommendation and shall bar the party from attacking on

appeal factual findings accepted or adopted by the District Court except upon grounds of

plain error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982). See

Stein v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc).

          Done this 18th day of October, 2011.



                                          /s/Charles S. Coody
                                     CHARLES S. COODY
                                     UNITED STATES MAGISTRATE JUDGE




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